Case 2:22-cv-01272-MEMF-AGR Document 47 Filed 07/21/22 Page 1 of 2 Page ID #:330


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12                                UNITED STATES DISTRICT COURT
13                               CENTRAL DISTRICT OF CALIFORNIA
                                       WESTERN DIVISION
14
     CHARISSA KEEBAUGH, STEPHANIE                      Case No. 2:22-cv-01272-MEMF (AGRx)
15   NEVEU, HEATHER MERCIERI, SOPHIA
     NICHOLSON, and P.W., by and through               DECLARATION OF JOIE WEIHER IN
16                                                     SUPPORT OF PLAINTIFFS’ OPPOSITION
     JOIE WEIHER, on behalf of themselves and
17   all others similarly situated,                    TO DEFENDANT’S MOTION TO COMPEL
                                                       ARBITRATION AND STAY PROCEEDINGS
18                         Plaintiffs,

19          v.                                         Date:       October 6, 2022
                                                       Time:       10:00 a.m.
20   WARNER BROS. ENTERTAINMENT                        Before:     Hon. Maame Ewusi-Mensah
     INC., a Delaware corporation,                                 Frimpong
21
                                                       Ctrm.:      8B
                           Defendant.
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     Case No. 2:22-CV-01272-MEMF (AGRx)                   WEIHER DECL ISO PLNTF’S OPP. TO DEF’S
                                                          MOTION TO COMPEL ARBITRATION
Case 2:22-cv-01272-MEMF-AGR Document 47 Filed 07/21/22 Page 2 of 2 Page ID #:331


                JOIE WEIHER declares under penalty of perjury of the laws of the United States as follows.

                 I.      I am the mother of Minor Plaintiff P. W. I have personal knowledge of the facts stated

         herein, and I am otherwise competent to testify. I submit this declaration in support of Plaintiffs'

     2   Opposition to Defendant's Motion to Compel Arbitration or Stay.

     3          2.       P.W. made over $6,200.00 worth of in-game purchases on the Game of Thrones

     4   Conquest mobile app during an approximately three-week period in mid-March to early April 2022.

     5          3.       Neither I nor P. W. 's father downloaded or installed the Game of Thrones Conquest

     6   application. Nor did we ever see, read, or agree to Warner Bros. 's Terms of Use. P. W. downloaded

     7   and installed the game on his own.

     8          4.       Neither I nor P. W. 's father gave P. W. permission to accept Warner Bros. 's Terms of

     9   Use.

    10          5.       Neither I nor P.W.'s father agreed to any contract with Warner Bros. on behalf of P. W.

    11   or otherwise.

    12          6.       Neither I nor P. W. 's father permitted P. W. to make any purchase through the Game of

    13   Thrones Conquest application.

    14          7.       P.W. does not have permission to play Game of Thrones Conquest, and ceased playing

    15   the game before the filing of the Amended Complaint.

    16           8.      P. W. disaffirms and disavows Warner Bros. 's Terms of Use and each of P. W. 's in-app

    17   purchases made while using Grune of Thrones Conquest.

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    19          I declare under penalty of perjury under the laws of the United States that the foregoing is true

    20   and correct.

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    22   Executed on July 21 , 2022 in Warrenton, Virginia.

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           Case No. 2:22-CV-01272-MEMF (AGRx)l                      WEIHER DECL ISO PLNTF'S OPP. TO DEF'S
           MOT ION TO COMJ'ELARBITRATION
